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             UNITED STATES DISTRICT COURT FOR THE
                NORTHERN DISTRICT OF FLORIDA
                     GAINESVILLE DIVISION

JEREMY B. HALES,
    Plaintiff,

vs.                                        Case No.: 1:24CV45/ZCB

JOHN M. COOK, et al.,
   Defendants.
                                   /

                                   ORDER

       This matter is before the Court on a Motion to Withdraw as

Attorney (Doc. 126) that was filed by Defendants’ counsel. In the motion,

Defendants’ counsel states that he seeks to withdraw because his clients

have discharged him as their attorney. Upon review of the motion, it is

hereby ORDERED that:

      1. The Motion to Withdraw as Attorney (Doc. 126) is GRANTED.

        Bruce P. Matzkin is relieved of further representation of

        Defendants in this case.

      2. The Court will reserve jurisdiction to decide the issue of sanctions

        against Mr. Matzkin. Therefore, the Clerk of Court shall ensure

        that Mr. Matzkin continues to receive docket entry notifications

        even though he is no longer counsel for Defendants.

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3. Mr. Matzkin must provide Defendants with a copy of this Order.

  He must also provide Defendants with a complete and accurate

  copy of their entire file within seven days of this Order.

4. Except for the previously ordered response by Plaintiff to Doc. 131,

  this matter is STAYED for thirty days from today’s date to allow

  Defendants time to locate new counsel. If new counsel does not

  enter an appearance within that thirty-day period, then the case

  will proceed with Defendants representing themselves.

SO ORDERED this the 14th day of April 2025.

                                    s/ Zachary C. Bolitho
                                    Zachary C. Bolitho
                                    United States Magistrate Judge




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